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Comes now the Defendant John Knox by and through his attorney of record
Handel R. Durham, Jr. and moves this honorable Court to continue the change of plea
date originally scheduled by the Court on Thursday, June 9, 2005 at 10 a.m. to Thursday,
June 16, 2005 for the afternoon hour.

Counsel for Defendant John Knox inadvertently overlooked a trial scheduled for
that day and immediately contacted the judge’s clerk to alert him of the conflict
Wherel"ore, premises considered, the Defendant respectfully moves this Court to continue
the change of plea date from June 9, 2005 until June 16, 2005 for the afternoon calendar.
David Pritchard, counsel for the government, does not oppose this Motion.

Respectfully submitted,

  

 

 

. Durham, Jr.
Attorney for Defendant John Knox
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Memphis, TN 38103

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Certifrcation ofService
l, hereby, certify that a copy of the foregoing Motion Was hand delivered to the
Assistant U.S. Attorney, David Pritchard, 8th Floor, Federal Building, 167 N Main St,
l\/lemphis, Tennessee 38103 on this 31 day ofl\/lay 2005.

TB¢AM

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UNITED sTATE DRISTIC COURT - WESTENR D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 55 in
case 2:04-CR-20134 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Handel R. Durham
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David Pritchard

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l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

